                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION


JACOBUS RENTMEESTER,
                                                                    No. 3:15-cv-00113-MO
              Plaintiff,
                                                                               JUDGMENT
       v.

NIKE, INC., an Oregon
corporation,

              Defendant.



MOSMAN, J.,

       Based upon my Opinion and Order,

       IT IS ORDERED AND ADJUDGED that Defendant Nike, Inc.’s Motion to Dismiss is

GRANTED. Mr. Rentmeester’s claims are dismissed with prejudice. All pending motions are

denied as moot.

       DATED this     17th   day of June, 2015.




                                                       /s/ Michael W. Mosman
                                                       MICHAEL W. MOSMAN
                                                       United States District Judge




1 – JUDGMENT
